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                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                  Case No.: 17-cv-60426-UU

  ALEKSEJ GUBAREV, XBT HOLDING S.A.,
  AND WEBZILLA, INC.

        Plaintiffs,

  vs.

  BUZZFEED, INC. AND BEN SMITH,

    Defendants.
  ____________________________________/
   MOTION TO AMEND ANSWER AND INCORPORATED MEMORANDUM OF LAW
            Defendants BuzzFeed, Inc. and Ben Smith respectfully move under Fed. R. Civ. P.
  15(a)(2) and 16(b)(4) for an order granting them leave to file a Second Amended Answer in the
  form attached hereto as Exhibit “A” (the “SAA”).
                                     PRELIMINARY STATEMENT
            This Motion is being filed solely in an abundance of caution. When the Court and the
  parties first discussed the possibility that Plaintiffs would file a Partial Motion for Judgment on
  the Pleadings, it was predicated on Plaintiffs’ representation that they would file a genuine Rule
  12 motion raising a “pure issue of law.” However, as is more fully discussed in Defendants’
  Opposition, the motion Plaintiffs have actually filed four months later is nothing of the kind.
  Rather, it is a motion for partial summary judgment. In addition, it makes numerous assertions
  of fact, characterizations about Defendants’ supposed position on the facts, and arguments
  pointing to the supposed absence of countervailing facts in Defendants’ pleadings.
            For all the reasons stated in their Opposition, Defendants’ respectfully submit that
  Plaintiffs’ motion should be denied accordingly, and the parties will re-visit these issues at the
  summary judgment stage. Alternatively, resolution of the motion should be deferred to that stage
  pursuant to Rule 56(d). If the Court chooses either of those options, then this motion for leave to
  amend would be moot and may be denied as such.
            However, if and only if the Court wishes to determine whether judgment could be
  rendered on the pleadings, then good cause exists to grant leave for Defendants to amend the

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  portions of their Amended Answer which plead the two Affirmative Defenses at issue in
  Plaintiffs’ motion.    Plaintiffs’ motion makes it clear that the two privilege defenses they
  challenge cannot be resolved as pure issues of law. They both require the application of legal
  principles to a set of facts, which for purposes of this motion would mean applying the law to
  factual allegations made in the Answer.
         However, the parties entered into a prior agreement that the pleadings in their current
  form were sufficient for their purposes, and therefore would not be the subject of a motion solely
  challenging the pleadings. Plaintiffs are now trying to take advantage of that agreement, by
  purporting to challenge the very pleadings the parties agreed were sufficient, while refusing to
  consent to allow Defendants to amend them in response to the arguments Plaintiffs now make.
  Moreover, absent further amendment, the Court will not have the benefit of understanding how
  the parties’ respective positions on these defenses may actually play out in this case. For all
  these reasons, good cause exists to grant leave to file the proposed Second Amended Answer.
                                         FACTUAL BACKGROUND
  A.     The Answer In This Case
         After this Court denied Defendants’ motion to dismiss for lack of personal jurisdiction,
  Defendants filed their Answer on June 9, 2017. Ex. B (“Original Answer”). Among other
  affirmative defenses, Defendants asserted the fair report and neutral report privileges. Id. at
  Third Defense (“Defendants’ publication of the Article and the Dossier is protected by a fair
  report privilege pursuant to any applicable state statute (including, but not limited to, New York
  Civil Rights Law § 74), the common law, the First and Fourteenth Amendments to the
  Constitution of the United States, or any applicable state constitution.”) and Fourth Defense
  (“Defendants’ publication of the Article and the Dossier is protected by a neutral report privilege
  pursuant to the common law, the First and Fourteenth Amendments to the Constitution of the
  United States, or any applicable state constitution or statute.”).
  B.     The Parties Agree That Plaintiffs Will Not Move to Strike Defendants’ Fair Report
         and Neutral Report Privilege Affirmative Defenses Once the Answer is Amended

         On June 14, counsel for Plaintiffs emailed counsel for Defendants “to inform you that
  Plaintiffs intend to move to strike certain of the defendants’ affirmative defenses (or portions
  thereof) and to give you the opportunity to instead file an amended answer that removes the
  improper defenses (or portions thereof), which is the preferred procedure in the Southern District
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  of Florida.” Ex. C. Among other things, Plaintiffs’ counsel objected to the fair report and
  neutral report defenses, writing that:
                 Third affirmative defense [fair report privilege]: The invocation of a statutory
                 defense available under New York law is inappropriate in this case given that the
                 present case is governed by Florida law. As such, that portion of the defense
                 should be stricken. In addition, the reference simply to ‘any applicable state
                 statute’ that might provide a defense fails to provide the plaintiffs with adequate
                 notice of the defense asserted and must either be amended to provide proper
                 statutory references or removed from the defense.

                 Fourth affirmative defense [neutral report privilege]: Again, reference simply to
                 “any applicable state statute” that might provide a defense fails to provide the
                 plaintiffs with adequate notice of the defense asserted and must either be amended
                 to provide proper statutory references or removed from the defense.

  Id. Importantly, Plaintiffs did not raise any objections regarding the potential factual basis for
  these affirmative defenses. Rather, their objections went solely to the alleged vagueness of the
  sources of law Defendants’ invoked in their Answer. Defendants’ counsel responded on June 21
  with a proposed Amended Answer, Ex. D, which removed certain defenses and re-pled others in
  response to Plaintiffs’ objections. With regard to the fair report and neutral report defenses, the
  amendments more specifically pled the sources of law upon which those defenses are based. Ex.
  D, Second and Third Defenses.
         Counsel for Plaintiffs responded on June 25, writing that “[a]lthough we disagree on
  certain issues” such as whether Florida or New York law applied, “we agree that the proposed
  amended answer sufficiently mitigates our concerns so as to make a motion to strike
  unnecessary.” Ex. E. On June 29, Defendants filed their Amended Answer pursuant to Fed. R.
  Civ. P. 15(a)(1)(A) (the “Amended Answer”). Ex. F.
         The deadline for amendment of pleadings set by this Court’s pre-trial scheduling order,
  Dkt. 29, then passed on June 30. Because the parties had agreed that the pleadings would not be
  the subject of any preliminary motion practice, Defendants did not either make any amendments
  or seek leave to make any additional amendments that would have responded to any objections
  or arguments from Plaintiff regarding the factual basis for these affirmative defenses.
  C.     This Court Suggests A Motion As A Matter Of Law On The Fair Report Privilege
         Almost two months later, at a September 29 status conference, counsel for the parties
  discussed with the Court some of the substantive issues in the case, including the fair report

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  privilege. Plaintiffs’ counsel argued that BuzzFeed’s article could not, as a matter of law,
  support a fair report privilege defense. Ex. G (transcript) at 19-20. In response to that argument,
  the Court suggested that Plaintiffs file a motion for judgment on the pleadings to test whether the
  fair report defense truly presented, as Plaintiffs maintained, a “pure issue of law.” Id. at 22.
  Thereafter, Plaintiffs advised that they intended to bring a pleadings motion seeking to dismiss
  the fair report privilege. Id. at 23.
  D.       Defendants Seek an Agreement to Amend Their Answer, but Plaintiffs Refuse
           In light of this change in circumstances, on October 2, 2017, counsel for Defendants
  reached out to Plaintiffs’ counsel and asked whether, in light of the parties’ earlier agreement
  that Plaintiffs would not move to dismiss based on the pleadings, he would consent to
  Defendants further amending their Answer to include factual allegations to support the fair report
  privilege defense. Plaintiffs’ counsel respond by email claiming, despite his earlier agreement
  “that the proposed amended answer sufficiently mitigates our concerns so as to make a motion to
  strike unnecessary” that:
                  I went back and reviewed the original and amended complaints and did not see
                  any instances in which you removed any *facts* from your original complaint in
                  response to our concerns about improperly asserted affirmative defenses. You did
                  remove some of the defenses, which resulted in our not having moved to strike
                  the same.

                  None of our discussions, though, precluded our right to file a motion for judgment
                  on the pleadings, as the Court has now suggested we do.

  Ex. H.
           Put simply, it appeared to Defendants that Plaintiffs might be trying to take advantage of
  the Court’s suggestion that they file a motion they had previously agreed not to file, and thereby
  were refusing to permit amendments that Defendants would have made back in June had
  Plaintiffs raised the objections to the fair report privilege defense they now planned to raise in a
  dispositive motion. Notably, if Plaintiffs really believed that the fair report privilege defense
  presented a “pure issue of law” such that there could be no set of facts Defendants could allege
  that would support the defense, as they represented to the Court, then no possible prejudice to
  them could have resulted from agreeing to allow further amendments before filing a motion for
  judgment.


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         Nonetheless, because (1) Plaintiffs’ counsel had represented that their motion would only
  raise a “pure issue of law,” and (2) Defendants’ counsel anticipated that Plaintiffs’ motion would
  be filed not long thereafter, Defendants elected to wait for the motion for judgment, rather than
  file an anticipatory motion for leave to amend the Answer that might prove to be unnecessary.
  E.     Plaintiffs Represent to the Court on January 10 that Amendments to the Pleadings
         Would Not Be Relevant to Plaintiffs’ Anticipated Motion

         However, two and half months went by and when the parties appeared for a status
  conference on January 10, 2018, no motion had yet been filed. As a result, Defendants’ counsel
  raised with the Court the concern that that because the current state of the pleadings reflected the
  parties’ original agreement that no further motion practice confined to the pleadings would
  ensue, Defendants could be prejudiced if they did not have the opportunity to further amend the
  pleadings to allege the factual basis for the privilege defense. Defendants’ counsel noted that
  privilege “involves applying law to facts.” Ex. I (transcript) at 45. Defendants’ counsel also
  noted that when the same issue arose in litigation in New York state court over the same article
  and dossier, counsel for the parties had agreed that the Defendants would file an Amended
  Answer, and then engaged in motion practice on the basis of the allegations pled in an Amended
  Answer. Id. at 44-45.
         In response, Plaintiffs’ counsel stated that “[w]e don’t think that the way this motion is
  going to be presented to the Court is going to require any consideration of any fact that is either
  not stipulated to, or at least something that the defendants would say, ‘Well, there’s no possible
  way that we could plead something that would be contrary to this.’” Id. at 48. That argument, in
  and of itself, was somewhat different than positing the issue as a pure issue of law, unrelated to
  any underlying facts. Plaintiffs’ counsel also represented for the first time that their motion
  would address another affirmative defense, in addition to the fair report privilege.
  F.     The Pending Motion for Partial “Judgment on The Pleadings”
         On January 18, 2018, Plaintiffs’ filed their Motion for Partial Judgment on the Pleadings
  (the “Motion” or “Mot.”). But the Motion does not remotely raise a “pure issue of law.” Rather,
  its legal arguments are premised upon numerous assertions of fact and citations to the actual
  discovery record. Many of Plaintiffs’ assertions or characterizations of fact have not been, nor
  would be, “stipulated to.” To the contrary, once discovery is complete Defendants believe they
  will be in a position to show why the undisputed material facts require summary judgment for
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  Defendants. Below is a list of many of the factual assertions upon which Plaintiffs’ legal
  arguments are based, as well as conclusions of law for which no factual support is offered:
                 “This is the sum total of any mention of government officials or
                 government ‘action’ in the Article. The article says nothing about the
                 memos being the subject of any investigation or official proceeding;
                 makes no claim that such an investigation or official proceeding existed;
                 and contains no reporting on any such investigation.” Mot. at 4.

                 “On January 11, 2017, Buzzfeed Editor Ben Smith was interviewed on
                 Meet the Press. In that interview, Mr. Smith admitted that he and
                 Buzzfeed had ‘real solid reasons to distrust’ the information contained in
                 the Dossier at the time they published it.” Mot. at 4 (citing an internet
                 news transcript).

                 “Webzilla is, undisputedly, a Florida corporation.” Mot. at 7 n. 7.

                 “Webzilla has suffered injury in Florida.” Id.

                 “Mr. Bensinger . . . has not claimed to have received the Dossier anywhere
                 other than in California.” Id.

                 “Buzzfeed reporters worked on the defamatory article from Washington, D.C.,
                 California, and London.” Id.

                 “It is undisputed that Buzzfeed did not receive the Dossier from a government
                 official or any other government source.” Mot. at 8, citing Mot. Ex. 2 (a
                 deposition transcript) and Ex. 4 (an exchange of e-mails between counsel).

                 “It is undisputed that the Dossier . . . is not . . . a government document at
                 all.” Mot. at 8, citing Mot. Ex. 1 (a legal memorandum from a government
                 attorney) & Ex. 3 (factual testimony of Glenn Simpson).

                 “It is undisputed that the Defendants were not aware of any investigation
                 at the time they published the Dossier, as opposed to knowledge that
                 various government officials possessed or had discussed the Dossier as a
                 whole.” Mot. at 12, citing Mot. Ex. 5 (interrogatory responses, which say
                 nothing of the kind).

                 “[T]he Article neither mentions an investigation nor does it even suggest the
                 existence of such an investigation.” Mot. at 13.
                 “The article says nothing about the memos being the subject of any investigation
                 or official proceeding; makes no claim that such an investigation or official
                 proceeding existed; and, of course, contains no reporting on any such
                 investigation.” Mot. at 14.

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                 “Plaintiffs are not public figures.” Mot. at 18.
                 “Buzzfeed itself did not believe the source of the information in the Dossier to be
                 ‘credible and reliable’ at the time of publication.” Mot. at 19 (citing a news
                 interview).

         Even more troubling is that the Motion does exactly what Plaintiffs represented it would
  not do. It repeatedly claims that Plaintiffs are entitled to judgment as a matter of law because the
  Amended Answer does not allege what Plaintiffs contend would be necessary facts to establish
  certain elements of the defenses at issue:
                 “Defendants make no claim in their Answer to have received the Dossier
                 from [a government] source, nor could they make such a claim even if
                 given an opportunity to amend their answer.” Mot. at 8.

                 “Defendants have not alleged that the Dossier was presented in a ‘public
                 proceeding.’” Id. at 9.

                 “Defendants have never actually claimed: (1) that there was any
                 investigation relating to Plaintiffs, or (2) that there was any investigation
                 into the December Memo (containing the defamatory statements about
                 Plaintiffs) as opposed to the Dossier as a whole.” Id. at 11.

                 “Defendants do not claim that they knew of any actual ‘investigation’ into
                 the Dossier as a whole prior to their publication of the same . . . .” Id.

                 “Defendants cannot show that there was an investigation into Plaintiffs,
                 the December Memo, or the Dossier at the time of publication; even if
                 they could, they cannot show that they knew of – or relied on – any such
                 investigation….” Id.

         As discussed above, however, the reason the Amended Answer lacks any allegations at
  all of this nature is because there was a prior agreement that the Answer was sufficient to avoid
  motion practice that would challenge its sufficiency. In fact, the proposed Second Amended
  Answer contains detailed allegations that pertain to investigations into the Dossier, official
  actions with the Dossier (including the December memo), the source of the Dossier, and
  Defendants’ knowledge about investigations and other official actions at the time of publication.
  See SAA, Second Defense ¶¶ 1-25. While the parties may continue to disagree about the legal
  import of the facts, Plaintiffs’ repeated claims about what is supposedly “undisputed,” what
  Defendants supposedly “claim,” “do not claim,” or “cannot show,” are all premised on the
  absence of pleadings stating what Defendants actually claim and assert they will show.
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  G.      PLAINTIFFS REJECT ANY FINAL EFFORT AT COMPROMISE
          Upon reviewing Plaintiffs’ motion, it seemed apparent to Defendants’ counsel that for all
  the reasons discussed above, the motion was not a proper Rule 12 motion and clearly did not
  even purport to raise any “pure issue of law.” Moreover, it was replete with arguments premised
  on the absence of factual allegations – precisely the concern that Defendants have raised for
  months regarding Plaintiffs’ intentions here, in light of the parties’ prior agreement about the
  sufficiency of the Amended Answer. As a result, Defendants’ counsel made one final effort to
  propose that Plaintiffs either (1) stipulate that the motion was really one for partial summary
  judgment, and pursuant to Rule 56(d) defer any deadline to respond to it until discovery was
  completed, or (2) consent to a motion for leave to amend the Answer, so that the issues could
  actually be litigated on the basis of the pleadings. Ex. J. Plaintiffs’ counsel refused, claiming
  that “In any event, this is a discussion that I feel we have had multiple times in multiple ways
  and our position remains the same: this is a motion that was specifically requested by Judge
  Ungaro and in the procedural form in which she proposed it be filed. We are not going to
  second-guess the Court and we believe the motion is proper as filed.” Id. (emphasis in the
  original).
                                             ARGUMENT
          If, and only if, this Court wishes to address the question of whether the pleadings could
  support potentially viable fair report and neutral report privilege defenses, then it should grant
  Defendants’ motion to amend its answer to state the factual basis of those affirmative defenses,
  for two primary reasons.
          First, it would be only way for the Court to evaluate the potential viability of the privilege
  defenses at issue here. Second, to address the pleadings in their current form would be unfair.
  The Court’s invitation to file this motion was predicated on Plaintiffs’ representation that they
  could raise a “pure issue of law.” That is not the motion they filed. Instead, Plaintiffs are
  essentially asserting that the Court’s invitation to brief what they asserted was a “pure issue of
  law” somehow entitles them to take advantage of the parties’ prior agreement and now argue
  they are entitled to judgment because the pleadings supposedly lack factual allegations. The
  important issues raised by this case should not be resolved on the basis of such “gotcha” tactics.




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  I.       GOOD CAUSE EXISTS TO PERMIT AMENDMENT OF THE ANSWER
           In deciding whether to permit a party to amend pleadings after the expiry of the
  amendment deadline set by a scheduling order, a court must first assess whether good cause
  exists to modify the scheduling order deadline under Fed. R. Civ. P. 16(b). Sosa v. Airprint
  Systems, Inc., 133 F.3d 1417, 1419 (11th Cir. 1998). If good cause does exist, the court then
  considers whether leave to amend is appropriate under the permissive Fed. R. Civ. P. 15(a)(2)
  test. Id. Here, good cause clearly exists. This is not a typical request for an amendment after the
  Court’s deadline. There is good cause here because the need to amend arises not from any lack
  of diligence on Defendants’ part, but from an event that took place after the deadline for
  amendments – Plaintiffs’ representations regarding questions of law, which resulted in their
  filing the Motion months after originally agreeing that “a motion to strike [was] unnecessary.”1
           Moreover, one of the primary purposes of the Court’s invitation to file the Motion was so
  that the Court would have the opportunity to learn more about the issues raised by these
  affirmative defenses, even if it turned out to be premature to actually resolve them. But to
  consider a Rule 12(c) motion filed by a plaintiff to dismiss defenses, the Court must apply the
  governing legal standards to the particular factual allegations that Defendants could assert to
  support these defenses. Bass v. Hoagland, 172 F.2d 205, 207 (5th Cir. 1949). That is, the
  factual record on a plaintiff’s motion for judgment on the pleadings comes primarily from the
  answer – “[t]he fact allegations of the answer are to be taken as true, but those of the complaint
  are taken as true only where and to the extent that they do not conflict with those of the answer.”
  Id.; see also Bethel v. Escambia Cty. Sheriff’s Office, 2006 WL 1883426, at *1 (N.D. Fla. July 7,
  2006) (“[T]he plaintiff may not secure a judgment on the pleadings when the answer raises
  issues of fact that, if proved, would defeat recovery.”). In its current form, the result of a
  compromise between the parties in June, the Amended Answer does not contain sufficient
  factual detail to fully assess whether the defenses at issue could apply here.
           As a matter of fundamental fairness, Defendants should be entitled to the benefit of the
  bargain that they made with the Plaintiffs – i.e., that Plaintiffs agreed that the allegations

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    There is no meaningful difference between the Motion and a motion to strike an affirmative defense. See Chavez
  v. Mercantil Commercebank, N.A., 2011 WL 13112229, at *2 (S.D. Fla. June 15, 2011) (citation omitted)
  (construing plaintiff’s motion for partial judgment on pleadings as a motion to strike because “[i]f a plaintiff seeks to
  dispute the legal sufficiency of fewer than all of the defenses raised in the defendant’s pleading, he should proceed
  under Rule 12(f) rather than under Rule 12(c) because the latter leads to an entry of judgment.”).
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   contained in the Amended Answer were sufficient such that Plaintiffs would not move to strike
   those defenses. There is no reason why this Court’s request for motion for judgment on the
   pleadings to potentially assess a “pure issue of law” should change the import of that agreement.
   On the contrary, bearing in mind that the Court invited the motion based on the understanding
   that Plaintiffs would not rely on assertions of fact or claims about the absence of facts, Plaintiffs
   should have agreed to allow Defendants to amend the answer such that the question of the legal
   sufficiency of these two privileges was ripe for decision. Instead, they are seeking to parlay the
   Court’s request into a strategic opportunity to attack allegations that had been specifically
   tailored to address their previous objections to their sufficiency.
          And there is no question that, despite Plaintiffs’ claims at the January 10 conference, Ex.
   I at 48, that is exactly what they seek to do. Plaintiffs’ motion makes legal arguments that rely
   heavily on facts they simply assert and claim are “undisputed,” only because the Amended
   Answer does not contain factual allegations setting forth the basis of each element of the relevant
   defenses.
          For instance, Plaintiffs argue in their motion (without attribution) that “it is undisputed
   that the Dossier…is not . . . a government document at all.” Mot. at 8 While for the reasons set
   forth in Defendants’ Opposition that is not the only (or even the primary) basis for asserting the
   fair report privilege, even if it were, Defendants do contend that the Dossier may be considered a
   government document, at least for purposes of the fair report privilege. Among the reasons why
   include the facts that: (a) the Dossier was compiled by Christopher Steele largely while he was
   functioning as an FBI source and regularly met with the FBI and other agencies as well, SAA,
   Second Defense ¶¶ 1-3, 5; (b) the Dossier was obtained and used by the FBI in its investigation
   into Russia’s interference with the 2016 Presidential election, id. at ¶¶ 2, 4, 6, 13-14; (c) the
   Department of Justice and FBI used the Dossier to obtain and renew a warrant from the Foreign
   Intelligence Surveillance Court, id. at ¶¶ 4, 6; (d) Senator John McCain personally delivered a
   copy of the Dossier to FBI director James Comey, id. at ¶¶ 9-10; and (e) the President and Vice-
   President were given two-page synopses of the Dossier, and they, the President-elect and
   congressional leaders were briefed about it, id. at ¶¶ 13-14. And while the definition of what a
   “government document” is for these purposes would ultimately be a question for the Court, it is a
   question that can only be resolved on the basis of facts pertaining to the document. Defendants’


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   proposed amendments would allow the court to assess whether the facts pled about the Dossier
   could potentially make it a “government document,” at least for purposes of a Rule 12 motion.
             Plaintiffs similarly argue that they are entitled to dismissal of the fair report defense
   because “Defendants do not claim that they knew of any actual ‘investigation’ into the Dossier as
   a whole prior to their publication of the same . . . .” Mot. at 9. But that is precisely the point –
   Defendants have not provided specific allegations explaining how they were aware of that
   because Plaintiffs agreed that they did not have to do so. Similarly, Plaintiffs make numerous
   arguments about what the “Article” supposedly does or does not say. As Defendants explain in
   their Opposition, however, the sources like the January 10 CNN report that the Article refers and
   links to are also relevant. But only the Article, and not those sources, is currently part of the
   pleadings. Defendants are entitled to an opportunity to particularize their allegations on this
   point in their Answer so that the Court may assess whether, if true, those allegations could
   support the privilege.
             Finally, Plaintiffs argue that the neutral report privilege cannot apply here because the
   Dossier does not come from a “responsible, prominent” source. Mot. at 18. But on the present
   state of the pleadings the Court does not have any information before it that would allow it to
   assess that claim. Defendants’ proposed amendments address this by adding detailed allegations
   about Mr. Steele’s investigation, and the extent to which others, including the FBI and two
   United States Senators, considered him and the Dossier to be reliable. See SAA, Third Defense,
   ¶¶ 1-9.
             In addition, there is no question that Defendants have been diligent in seeking to amend
   the answer.      When seeking leave to amend after a scheduling order deadline has passed,
   “diligence is the key to satisfying the good cause requirement.” De Varona v. Discount Auto
   Parts, LLC, 285 F.R.D. 671, 672-73 (S.D. Fla. 2012) (Ungaro, J.); see also Green Island
   Holdings, LLC v. British American Isle of Venice (BVI), Ltd., 521 F. App’x 798, 800 (11th Cir.
   2013) (“Rule 16(b) does not define good cause, but the advisory committee note indicates that
   good cause exists if the schedule ‘cannot reasonably be met despite the diligence of the party
   seeking the extension.’”). Good cause therefore exists where a defendant could not reasonably
   have anticipated the need to amend prior to the deadline. See, e.g., Coton v. Televised Visual X-
   Ography, 2008 WL 11336586, at *1 (M.D. Fla. Nov. 24, 2008) (intervening change in the law).


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          Here, Defendants have diligently sought to amend the answer because the need to amend
   arises from an unforeseeable change in circumstances – Plaintiffs moving to dismiss defenses
   they previously agreed were sufficiently pled.         Defendants were entitled to rely on the
   representations of Plaintiffs’ counsel in framing their defenses and deciding not to make further
   changes to their pleading. See, e.g., Pears v. Mobile Cty., 645 F. Supp. 2d 1062, 1088 (S.D. Ala.
   2009) (good cause for amendment of complaint past deadline existed because of “defendants’
   role in misleading [plaintiff] until that deadline had passed.”); Wolfson v. Lewis, 168 F.R.D. 530,
   534 (E.D. Pa. 1996) (rejecting defendants’ objection to proposed amended complaint for lack of
   concision where “Plaintiffs…only amended their complaint after defendants’ request at the
   pretrial conference for more specificity”).
          Had Plaintiffs indicated that they believed the Amended Answer was inadequate before
   the parties reached their prior agreement, Defendants could have amended as of right to address
   what Plaintiffs now contend are factual deficiencies. Even Plaintiffs have conceded that “the
   preferred procedure in the Southern District of Florida” is for a defendant to address objections
   related to affirmative defenses through amendment.          Ex. C.     Moreover, the predicate for
   Plaintiffs’ present Motion was their representation to the Court and Defendants that their motion
   would only raise pure issues of law, so any amendments to the pleadings would be irrelevant.
   Defendants raised their concern about whether that was so several times over the past few
   months – both with Plaintiffs’ counsel directly, and with the Court – but nonetheless relied on
   Plaintiffs’ representations rather than initiate potentially wasteful motion practice.
          But that is not what Plaintiffs have actually done. Rather, they now argue that a pleading
   they previously agreed “ma[d]e a motion to strike unnecessary” is factually inadequate, and they
   make numerous factual assertions of their own in the absence of any pleadings to the contrary.
   This is exactly the sort of unfairness that led one court to remark that allowing a plaintiff to “wait
   many months to file his Rule 12(c) motion and then deprive Defendant of relying on the vast
   majority of his affirmative defenses at trial” would be “in direct conflict with Rule 1’s
   requirement that the rules ‘should be construed, administered, and employed by the court and the
   parties to secure the just, speedy, and inexpensive determination of every action and
   proceeding.’” Jou v. Adalian, 2017 WL 3624340, at *4 (D. Haw. Aug. 23, 2017).
          Plaintiffs’ position appears to be that no amendment is necessary because it was the Court
   that first raised the possibility of a pleadings motion on Defendants’ affirmative defenses at the
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   September status conference. Ex. J. But this misses the point: the issue here is not whether
   Plaintiffs are entitled to bring the Motion, but whether Defendants should have the chance to
   provide the Court with everything it needs to decide the kind of motion the Court actually invited
   Plaintiffs to bring. And the Court certainly has not decided that issue. In fact, at the January
   status conference it specifically noted that it would have to “wait and see what [the motion for
   judgment on the pleadings] looks like” before deciding whether amendments to the answer were
   necessary. Ex. I at 48.
           There is accordingly good cause for Defendants’ proposed amendments.
   II.     LEAVE TO AMEND IS APPROPRIATE UNDER RULE 15
           Because good cause exists, the issue becomes whether amendment is appropriate under
   the permissive standard set out in Fed. R. Civ. P. 15(a)(2), which states that the court “should
   freely give leave where justice so requires.” And, “[i]n the absence of any apparent or declared
   reason – such as undue delay, bad faith or dilatory motive on the part of the movant, repeated
   failure to cure deficiencies by amendments previously allowed, undue prejudice to the opposing
   party by virtue of the allowance of the amendment, futility of amendment, etc. – the leave sought
   should, as the rules require, be ‘freely given.’” Hargett v. Valley Fed. Sav. Bank, 60 F.3d 754,
   761 (11th Cir. 1995) (quoting Foman v. Davis, 371 U.S. 178, 182 (1962)).
           As noted above, the proposed amendments here could only have a salutary effect on this
   case, by more clearly defining the facts on which Defendants rely. “Factual allegations of this
   kind, which clarify but do not reshape the action, are rarely a bad thing.” Council on American-
   Islamic Relations Action Network, Inc. v. Gaubatz, 793 F. Supp. 2d 311, 324 (D.D.C. 2011)
   (granting leave to amend); see also Hess v. Coca-Cola Refreshments USA, Inc., 2014 WL
   5080258, at *3 (M.D. Fla. Sept. 29, 2014) (granting leave to amend “to add with more specificity
   factual allegations.”).
           Nor can there be any question of prejudice to Plaintiffs from these amendments, because
   the proposed amendments add no new defenses, and none of the new factual allegations will
   come as a surprise. All come from materials like public documents, news reports to which the
   Article hyperlinks, published news reports, and information that has been obtained in discovery
   to date. Plaintiffs are accordingly already aware of all of these facts, and they even anticipated
   many of these allegations in their Complaint. See Compl. ¶ 24 (pleading that Dossier “is not an
   official document and was not created by any government entity.”); see also, e.g., Khan v. IBI
                                                  13
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   Armored Services, Inc., 2005 WL 2445473, at *1 (E.D.N.Y. Sept. 30, 2005) (granting defendant
   leave to amend answer where there would be no undue prejudice because “plaintiff was already
   aware of the Motor Carrier Exemption and anticipated the defense in his papers.”).               More
   detailed factual allegations in the answer, then, can only help the Court by “promot[ing] factual
   accuracy and encourag[ing] clarity of the record.” Hess, 2014 WL 5080258, at *2. Leave to
   amend is therefore appropriate.
                                             CONCLUSION
          For all these reasons, this Court should grant Defendants leave to file their proposed
   Second Amended Complaint.
   Dated: February 9, 2018
                 CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(a)(3)
          The undersigned certify that Defendants’ counsel have conferred with counsel for the
   Plaintiffs in a good-faith effort to resolve this motion. Plaintiffs’ counsel indicated that they
   oppose this motion.


                                                          Respectfully submitted,
     /s/ Katherine M. Bolger                             /s/ Roy Black                                     ,
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                                    CERTIFICATE OF SERVICE

          I CERTIFY that on February 9, 2018, I electronically filed the foregoing document with

   the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served

   this day on all counsel of record via transmission of Notices of Electronic Filing generated by

   CM/ECF or in some other authorized manner for those counsel or parties who are not authorized

   to receive electronically Notices of Electronic Filing.


                                                 By: /s/ Jared Lopez
                                                         Jared Lopez, Esq.




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